            Case 3:20-cv-00829-VAB Document 34 Filed 07/20/20 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


AURACLE HOMES, LLC., ET AL.                    :       CIVIL ACTION NO. 3:20-CV-829(VAB)
 Plaintiffs,                                   :
                                               :
      v.                                       :
                                               :
NED LAMONT                                     :
 Defendant                                     :       JULY 20, 2020


      MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

       The defendant, Ned Lamont, pursuant to Local Rule 7(b), through counsel, hereby

requests an extension of time of thirty (30) days after the Court issues its ruling on the Plaintiffs’

Emergency Motion for Temporary Restraining Order or in the Alternative, Issuance of

Preliminary Injunction, in which to file an answer or responsive pleading in the above-captioned

matter. In support of this motion, the Defendant represents as follows:

       1.       The plaintiffs filed a Complaint on June 16, 2020. (Doc. # 1).

       2.       The plaintiffs filed Plaintiffs’ Motion for Emergency Temporary Restraining

                Order, or, in the Alternative Issuance of a Preliminary Injunction and a

                memorandum of law in support also on June 16, 2020. (Doc. #s 2 & 3)

       3.       The defendant was served on June 17, 2020.

       4.       The plaintiffs filed an Amended Complaint on June 20, 2020. (Doc. # 23).

       5.       The defendant filed a brief in opposition to the plaintiffs’ motion on July 10,

                2020. (Doc. #27).

       6.       The current deadline to file a responsive pleading is July 21, 2020.

       7.       The court has scheduled a motion hearing on July 22, 2020.

       8.       The Plaintiff will not be prejudiced by the delay.



                                                   1
            Case 3:20-cv-00829-VAB Document 34 Filed 07/20/20 Page 2 of 3



       9.         Pursuant to Local Rule 7(b), the undersigned contacted Plaintiffs’ counsel, Craig

Fishbein, via email, and he has authorized the undersigned to represent he has NO OBJECTION

to this motion.

       10.        This is the defendants' first motion for an extension of time regarding the filing of

a responsive pleading.



       WHEREFORE, the defendants respectfully request a 30-day extension of time from the

date the Court issues its ruling Plaintiffs’ Motion for Emergency Temporary Restraining Order,

or, in the Alternative Issuance of a Preliminary Injunction, in which to file a responsive pleading

to the Amended Complaint.



                                                        DEFENDANT

                                                        NED LAMONT

                                                        WILLIAM TONG
                                                        ATTORNEY GENERAL

                                                 BY:    /s/ Maria C. Rodriguez__
                                                        Maria C. Rodriguez (ct08946)
                                                        Philip Miller (ct25056)
                                                        Assistant Attorneys General
                                                        Attorney General’s Office
                                                        165 Capitol Avenue, 4th Floor
                                                        Hartford, CT 06106
                                                        Tel: (860) 808-5050
                                                        Fax: (860) 808-5388
                                                        Email: Mariac.rodriguez@ct.gov
                                                        Email: Philip.Miller@ct.gov




                                                    2
          Case 3:20-cv-00829-VAB Document 34 Filed 07/20/20 Page 3 of 3




                                        CERTIFICATION

       I hereby certify that on July 20, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.



                                               /s/ Maria C. Rodriguez
                                                 Maria C. Rodriguez
                                                Assistant Attorneys General
                                                Federal Bar No. ct08946
                                                Attorney General’s Office
                                                165 Capitol Avenue, 4th Floor
                                                Hartford, CT 06106
                                                Tel: (860) 808-5050
                                                Fax: (860) 808-5388
                                                Email: Mariac.rodriguez@ct.gov




                                                  3
